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 1                                                           District Judge John C. Coughenour

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 7                           UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9
     STATE OF WASHINGTON, et al.,                   CASE NO. 2:25-cv-00127-JCC
10
                                                    OPPOSITION TO PLAINTIFF
                            Plaintiff,
11                                                  STATES’ MOTION FOR A
                            v.                      TEMPORARY RESTRAINING
12                                                  ORDER
   DONALD J. TRUMP, in his official
   capacity as President of the United States, et
13
   al.,
14
                            Defendants.
15

16          Pursuant to Local Civil Rule 65(b)(5), Defendants hereby file their opposition to

17 Plaintiffs’ emergency Motion for a Temporary Restraining Order (Dkt. No. 10) (“TRO Mot.”).

18 The Court should deny the motion for the reasons set forth below.

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21   Opposition to Motion for                                                     U.S. DEPARTMENT OF JUSTICE
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 1                                        INTRODUCTION

 2          This case in no way warrants the extraordinary measure of a temporary restraining order

 3 (“TRO”). On January 20, 2025, President Donald J. Trump issued an Executive Order

 4 addressing the federal government’s interpretation of the Fourteenth Amendment’s

 5 Citizenship Clause, which provides that “[a]ll persons born or naturalized in the United States,

 6 and subject to the jurisdiction thereof, are citizens of the United States and of the State wherein

 7 they reside.” U.S. Const. amend. XIV, § 1. See Exec. Order entitled, “Protecting the Meaning

 8 and Value of American Citizenship” (“Citizenship EO”). As the Citizenship EO recognized,

 9 the Fourteenth Amendment “has never been interpreted to extend citizenship universally to

10 everyone born within the United States.” Id.

11          Instead, as a textual matter, the Fourteenth Amendment affords so-called “birthright

12 citizenship” only to those persons born in the United States and subject to its jurisdiction—

13 and thus excludes children of noncitizens here illegally as well as children of temporary visa-

14 holders. See Citizenship EO §§ 1, 2. The EO applies only to children born on February 19,

15 2025, onwards, and expressly does not apply to children of lawful permanent residents.

16 Further, the EO directs relevant agencies to issue guidance within 30 days regarding how they

17 plan to take appropriate measures to issue documents recognizing citizenship only for

18 individuals who qualify as citizens. See Citizenship EO §§ 2, 3.

19          That EO is an integral part of President Trump’s recent actions, pursuant to his

20 significant authority in the immigration field, to address this nation’s broken immigration

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 1 system and the ongoing crisis at the southern border. See, e.g., Exec. Order entitled, “Securing

 2 Our Borders” (Jan. 20, 2025); Exec. Order entitled, “Declaring a National Emergency at the

 3 Southern Border of the United States” (Jan. 20, 2025); Exec. Order entitled, “Protecting the

 4 American People Against Invasion” (Jan. 20, 2025) (“Invasion EO”). As the President has

 5 recognized, individuals unlawfully in this country “present significant threats to national

 6 security and public safety,” Invasion EO, Sec. 1, and the severity of these problems warrant a

 7 full panoply of immigration measures.

 8          Despite the time remaining before the Citizenship EO is operational, Plaintiffs—four

 9 states—filed suit and demanded a TRO the day after the Citizenship EO issued, claiming a

10 need for “immediate relief,” TRO Mot. at 1, even though the EO will not apply to any

11 individual born until February 19. That rush to the courthouse for extraordinary relief is

12 fundamentally flawed. For starters, Plaintiffs request a “14-day” TRO, Pls.’ Proposed TRO at

13 2, Dkt. No. 10-1, which by its terms would expire before any births covered by the EO—and

14 thus any injury asserted by Plaintiffs—could occur. The Court can also deny Plaintiffs’

15 emergency motion for a TRO because Plaintiffs’ suit flunks multiple threshold hurdles.

16 Among those bars: As states, Plaintiffs cannot assert abstract injuries. And under Supreme

17 Court precedent, the Plaintiff states lack any injury, let alone an irreparable one that cannot be

18 addressed on a more reasonable schedule. As for the merits, notwithstanding Plaintiffs’

19 hyperbole, the EO is entirely consistent with the Fourteenth Amendment’s text and history, as

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 1 well as Citizenship Clause precedents that Plaintiffs cite. This Court should not rush to

 2 judgment on a manufactured timeline.

 3                                    STANDARD OF REVIEW

 4          A temporary restraining order is “an extraordinary remedy that may only be awarded

 5 upon a clear showing that the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def.

 6 Council, Inc., 555 U.S. 7, 22 (2008). To obtain such extraordinary relief, a plaintiff must

 7 demonstrate “that he is likely to succeed on the merits, that he is likely to suffer irreparable

 8 harm in the absence of preliminary relief, that the balance of equities tips in his favor, and that

 9 an injunction is in the public interest.” Stormans, Inc. v. Selecky, 586 F.3d 1109, 1127 (9th

10 Cir. 2009) (citation omitted).

11                                           ARGUMENT

12 I.       The Plaintiff States Lack Standing.

13          A.      This Court should resolve this TRO motion on the straightforward ground that a

14 state may not bring a Citizenship Clause claim against the federal government. “[E]ven when

15 the plaintiff has alleged injury sufficient to meet the ‘case or controversy’ requirement,” “the

16 plaintiff generally must assert his own legal rights and interests.” Warth v. Seldin, 422 U.S.

17 490, 499 (1975). A plaintiff “cannot rest his claim to relief on the legal rights or interests of

18 third parties.” Id. Thus, constitutional claims generally may be brought only by “one at whom

19 the constitutional protection is aimed.” Kowalski v. Tesmer, 543 U.S. 125, 129 (2004).

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 1          The Supreme Court has recognized a narrow exception to that rule for parens patriae

 2 actions—that is, suits in which a state seeks “to protect her citizens” from alleged violations

 3 of their federal rights. Georgia v. Pennsylvania Railroad Co., 324 U.S. 439, 447 (1945).

 4 Critically, however, it is well established that a “State does not have standing as parens patriae

 5 to bring an action against the Federal Government.” Alfred L. Snapp & Son, Inc. v. Puerto

 6 Rico ex rel. Barez, 458 U.S. 592, 610 n.16 (1982). “[I]t is no part of [a state’s] duty or power

 7 to enforce [its people’s] rights in respect of their relations with the federal government.”

 8 Massachusetts v. Mellon, 262 U.S. 447, 485-486 (1923).

 9          Applying those principles, the Supreme Court has held that states lack standing to bring

10 claims under Section 1 of the Fourteenth Amendment against the federal government. For

11 example, in South Carolina v. Katzenbach, 383 U.S. 301 (1966), the Court held that South

12 Carolina lacked standing to challenge a federal statute under the Due Process Clause. See id.

13 at 323-324. The “States of the Union” have no rights of their own under the Due Process

14 Clause; “[n]or does a State have standing as the parent of its citizens to invoke these

15 constitutional provisions against the Federal Government.” Id. at 324. Similarly, in Haaland

16 v. Brackeen, 599 U.S. 255 (2023), the Court held that Texas lacked standing to challenge a

17 federal statute under the Equal Protection Clause. Texas “ha[d] no equal protection rights of

18 its own,” and Texas could not “assert equal protection claims on behalf of its citizens because

19 ‘a State does not have standing as parens patriae to bring an action against the Federal

20 Government.’” Id. at 294-295 (brackets and citation omitted).

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 1           Those precedents squarely control this case. Just as South Carolina and Texas could

 2 not sue the federal government under the Fourteenth Amendment’s Due Process and Equal

 3 Protection Clauses, the Plaintiff states may not sue the federal government under the

 4 Citizenship Clause. The states “ha[ve] no [citizenship] rights of their own,” and given

 5 established “limits on parens patriae standing,” they also may not “assert [Citizenship Clause]

 6 claims on behalf of [their residents].” Brackeen, 599 U.S. at 295 & n.11. Citizenship Clause

 7 claims should be litigated, if at all, by the affected individuals themselves using the process

 8 designed by Congress for such claims. 8 U.S.C. § 1503.

 9           B.      More broadly, Plaintiffs’ claimed injuries fail to establish Article III standing to

10 assert any of their claims. Plaintiffs first rely on purported harms that their residents will suffer

11 as a result of the Citizenship EO. Cf. TRO Mot. at 2. But the Supreme Court has foreclosed

12 states from suing the federal government based on harms to their citizens, because, as

13 discussed above, that is an impermissible parens patriae action. See also, e.g., Murthy v.

14 Missouri, 603 U.S. 43, 76 (2024) (“States do not have standing as parens patriae to bring an

15 action against the Federal Government.” (internal quotation marks & citation omitted)). Nor

16 can Plaintiffs rely on the doctrine of third-party standing to assert the rights of individual

17 residents, because that is a “thinly veiled attempt to circumvent the limits on parens patriae

18 standing.” Brackeen, 599 U.S. at 295 n.11.1

19
             1
20           For this reason, the Ninth Circuit’s decision in Washington v. Trump, 847 F.3d 1151
   (9th Cir. 2017), which allowed a state to sue on behalf of its university and then “assert the
21 rights of the students, scholars, and faculty,” id. at 1160, is no longer good law. See also
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 1          Plaintiffs also cannot establish standing based on “pecuniary and property interests,”

 2 TRO Mot. at 6 (capitalization omitted), which are (at most) incidental, downstream effects of

 3 the Citizenship EO. In particular, Plaintiffs invoke purported economic harms stemming from

 4 the Medicaid, CHIP, and Title IV-E foster care programs, on the basis that federal law does

 5 not provide benefits for noncitizens. See TRO Mot. at 16. According to Plaintiffs, the EO will

 6 result in more children being noncitizens rather than citizens, and the states will then need to

 7 expend greater resources to provide benefits to those noncitizen children because the states

 8 will not receive federal reimbursement for such benefits. See id. at 16-17.

 9          As an initial matter, nothing in the Citizenship EO requires Plaintiffs to provide such

10 benefits to noncitizens. Nor have Plaintiffs identified any other source of federal law that

11 compels them to offer such benefits. Instead, they have voluntarily chosen to provide such

12 benefits—which means those costs are an independent choice made by the states’ legislatures,

13 not a cost attributable to the Citizenship EO itself. See Clapper v. Amnesty Int’l USA, 568

14 U.S. 398, 417-18 (2013) (holding that “respondents’ self-inflicted injuries” were insufficient

15 for Article III standing, because they “are not fairly traceable” to the challenged government

16 action); Pennsylvania v. New Jersey, 426 U.S. 660, 664 (1976) (“The injuries to the plaintiffs’

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20 Hawaii v. Trump, 859 F.3d 741, 765 (9th Cir. 2017), vacated, 583 U.S. 941 (2017). In any
   event, those decisions are also irrelevant because the states’ claimed injuries here do not
21 include any harms associated with state-operated universities.
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 1 fiscs were self-inflicted, resulting from decisions by their respective state legislatures. . . . No

 2 State can be heard to complain about damage inflicted by its own hand.”).2

 3           More fundamentally, the Supreme Court has rejected these types of incidental

 4 economic harms as a basis for standing in United States v. Texas, 599 U.S. 670 (2023). There,

 5 Texas and Louisiana challenged federal actions that, in their view, resulted in an increase in

 6 the number of noncitizens in their states, which imposed various costs on the states (e.g., costs

 7 from continuing to “supply social services . . . to noncitizens”). See id. at 674. The Supreme

 8 Court deemed those costs insufficient for standing:

 9           [I]n our system of dual federal and state sovereignty, federal policies frequently
             generate indirect effects on state revenues or state spending. And when a State
10           asserts, for example, that a federal law has produced only those kinds of indirect
             effects, the State's claim for standing can become more attenuated. In short, none
11           of the various theories of standing asserted by the States in this case overcomes
             the fundamental Article III problem with this lawsuit.
12
     Id. at 680 n.3 (citations omitted). That holding forecloses Plaintiffs’ standing here. Just as in
13
     Texas, where it was insufficient for the challenger states to identify monetary costs stemming
14

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16           2
              The states contend that “Washington will suffer financial losses for services that it
17   must provide,” because one state-operated hospital is “required by federal law to provide
     emergency care,” which is unreimbursed for noncitizen children. TRO Mot. at 17. But the
18   relevant requirement to provide emergency care—stemming from the Emergency Medical
     Treatment and Labor Act, or EMTALA—exists solely because that state-operated hospital
19   voluntarily chose to participate in Medicare. See 42 U.S.C. § 1395dd(e)(2) (confirming that
     EMTALA applies only to hospitals participating in Medicare); Se. Arkansas Hospice, Inc. v.
20   Burwell, 815 F.3d 448, 450 (8th Cir. 2016) (acknowledging that Medicare participation is a
     voluntary choice by hospitals). Thus, this injury is likewise the result of a voluntary choice by
21   Washington, not the challenged EO itself.
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 1 from the presence of noncitizens, the states cannot rely on social services expenditures to

 2 challenge the federal government’s regulation of others.

 3          The indirect, downstream nature of the states’ claimed economic harms also

 4 distinguishes this case from Department of Commerce v. New York, 588 U.S. 752 (2019).

 5 There, certain states were allowed to challenge the decennial census because of direct

 6 economic effects that the census would have on those states. See id. at 767-68. Indeed, the

 7 very purpose of the census is to determine how congressional seats and federal funds are

 8 distributed among the states. Similarly, in Biden v. Nebraska, 143 S. Ct. 2355 (2023), the

 9 challenged federal policy would have directly deprived a state government corporation of

10 ongoing fees that it would otherwise continue earning under its federal contract. See id.

11 at 2366.

12          But here, the challenged EO lacks any direct bearing on Plaintiffs’ healthcare or other

13 social service expenditures, nor does it deprive the states of ongoing fees. The Citizenship EO

14 simply regulates how the federal government will approach certain individuals’ immigration

15 status. A third party, including a state, has no legally cognizable interest in the recognition of

16 citizenship by the federal government of a particular individual—let alone economic benefits

17 or burdens that are wholly collateral to citizenship status. Whatever potential downstream

18 effects might arise for state programs in response is irrelevant to standing.

19          Accepting Plaintiffs’ theory of injury here—that states suffer Article III injury

20 whenever a federal policy allegedly results in an increase in state expenditures or loss in state

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 1 revenues—would eliminate any limits on state challenges to federal policies. See Arizona v.

 2 Biden, 40 F.4th 375, 386 (6th Cir. 2022) (“Are we really going to say that any federal

 3 regulation of individuals through a policy statement that imposes peripheral costs on a State

 4 creates a cognizable Article III injury for the State to vindicate in federal court? If so, what

 5 limits on state standing remain?”). Indeed, the states’ claimed interest in future fees under

 6 their contract with the Social Security Administration (“SSA”), TRO Mot. at 18, highlights

 7 the breadth of their theory—asserting that a discrete contract with SSA grants them Article III

 8 license to challenge any federal action that conceivably lowers the birthrate within their states.3

 9           Finally, Plaintiffs cannot rely on “operational disruptions and administrative burdens”

10 that they claim will result from the Citizenship EO, TRO Mot. at 8, which does not require

11 states to change their systems or impose any penalty for failing to do so. Thus, these claimed

12 harms are not attributable to the federal policy itself. And again, the notion that states can

13 assert standing based on putative harms from changing their systems to adapt to a new federal

14 policies would create automatic standing to challenge every new federal policy. That is not

15 the law, for states or other organizations. See FDA v. All. for Hippocratic Med., 602 U.S. 367,

16 394-95 (2024).

17

18

19           3
              Plaintiffs’ claimed interest in future fees under their SSA contract is distinct from the
20 situation   in Nebraska, where the federal policy would have “completely discharged” existing
   loans and thereby deprived the state entity of ongoing fees associated with those accounts. 143
21 S.Opposition
      Ct. at 2366. Here, the states’ interest is in purely hypothetical future fees.
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 1 II.      Plaintiffs Are Not Likely to Succeed on the Merits.

 2          As to the merits, the Citizenship Clause provides: “All persons born or naturalized in

 3 the United States, and subject to the jurisdiction thereof, are citizens of the United States and

 4 of the State wherein they reside.” U.S. Const. amend. XIV, § 1. Under the plain terms of the

 5 Clause, birth in the United States does not by itself entitle a person to citizenship. The person

 6 must also be “subject to the jurisdiction” of the United States. Id. Contrary to Plaintiffs’

 7 overheated rhetoric, that phrase does not mean simply being subject to federal jurisdiction to

 8 tax or regulate someone.

 9          Among the many reasons why Plaintiffs’ position is incorrect, the term “subject to the

10 jurisdiction thereof” in the Fourteenth Amendment harks to tandem language in the Civil

11 Rights Act of 1866, ch. 31, 14 Stat. 27. The Supreme Court has interpreted the Act and the

12 Amendment coterminously, explaining that the Act served as the “initial blueprint” for the

13 Amendment, Gen. Bldg. Contractors Ass’n v. Pennsylvania, 458 U.S. 375, 389 (1982), and

14 that the Amendment in turn “provide[d] a constitutional basis for protecting the rights set out”

15 in the Act, McDonald v. City of Chicago, 561 U.S. 742, 775 (2010). The Act provided, as

16 relevant here, that “all persons born in the United States and not subject to any foreign power,

17 excluding Indians not taxed, are hereby declared to be citizens of the United States.” § 1, 14

18 Stat. at 27 (emphasis added). The phrase “subject to the jurisdiction thereof” in the Fourteenth

19 Amendment is best read to exclude the same individuals who were excluded by the Act—i.e.,

20 those who are “subject to any foreign power” and “Indians not taxed.” Yet, under Plaintiffs’

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 1 view, the 1866 Civil Rights Act—which was governing law until 1940—was apparently

 2 unconstitutional, because plenty of individuals born in the United States and subject to federal

 3 regulatory jurisdiction are also “subject to any foreign power”—a disqualifying condition

 4 under the 1866 Civil Rights Act.

 5          Ample historical evidence shows that the children of non-resident aliens are subject to

 6 foreign powers—and, thus, are not subject to the jurisdiction of the United States and are not

 7 constitutionally entitled to birthright citizenship. For example, before the adoption of the

 8 Fourteenth Amendment, Justice Story wrote: “Persons who are born in a country are generally

 9 deemed to be citizens and subjects of that country. A reasonable qualification of the rule

10 would seem to be that it should not apply to the children of parents who were in itinere in the

11 country, or who were abiding there for temporary purposes, as for health, or occasional

12 business.” Joseph Story, Commentaries on the Conflict of Laws § 48, at 48 (1834). And after

13 the adoption of the Amendment, Justice Miller wrote: “If a stranger or traveller passing

14 through, or temporarily residing in this country, who has not himself been naturalized, and

15 who claims to owe no allegiance to our Government, has a child born here which goes out of

16 the country with its father, such a child is not a citizen of the United States, because it was not

17 subject to its jurisdiction.” Samuel F. Miller, Lectures on Constitutional Law 279 (1891).

18          The Supreme Court’s decision in Elk v. Wilkins, 112 U.S. 94 (1884), confirms that the

19 children of non-resident aliens lack a constitutional birthright to citizenship. In Elk, the Court

20 held that, because members of Indian tribes owe “immediate allegiance” to their tribes, they

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 1 are not “subject to the jurisdiction” of the United States and are not constitutionally entitled to

 2 citizenship. Id. at 102. Indian tribes occupy an intermediate position between foreign States

 3 and U.S. States. See Cherokee Nation v. Georgia, 30 U.S. 1, 17 (1831) (Marshall, C.J.)

 4 (describing Indian tribes as “domestic dependent nations”). The United States’ connection

 5 with the children of illegal aliens and temporary visitors is weaker than its connection with

 6 members of Indian tribes. If the latter link is insufficient for birthright citizenship, the former

 7 certainly is.

 8          Plaintiffs rely on the Supreme Court’s decision in United States v. Wong Kim Ark, 169

 9 U.S. 649 (1898), but they overread that case. Wong Kim Ark involved a person who was born

10 in the United States to alien parents who, at the time of the child’s birth, “enjoy[ed] a

11 permanent domicile and residence” in the United States. Id. at 652. The Court explained that

12 the “question presented” concerned the citizenship of “a child born in the United States” to

13 alien parents who “have a permanent domicile and residence in the United States.” Id. at 653.

14 Answering that question, the Court held that “a child born in the United States” to alien parents

15 who “have a permanent domicile and residence in the United States” “becomes at the time of

16 his birth a citizen of the United States.” Id. at 705. Despite some broadly worded dicta, the

17 Court’s opinion thus leaves no serious doubt that its actual holding concerned only children of

18 permanent residents. The EO is fully consistent with that holding. See, e.g., Citizenship EO

19 § 2(c) (“Nothing in this order shall be construed to affect the entitlement of other individuals,

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 1 including children of lawful permanent residents, to obtain documentation of their United

 2 States citizenship.” (emphasis added)).

 3 III.     The Equities Weigh Strongly Against Emergency Temporary Relief.

 4          By definition, since Plaintiffs lack standing to challenge the Citizenship EO, they also

 5 have failed to establish that they will suffer irreparable injury during the 14-day period covered

 6 by their requested TRO, “until a hearing on Plaintiff States’ forthcoming motion for a

 7 preliminary injunction can be held.” Pls.’ Proposed TRO at 3. This timing point bears

 8 emphasis: Any individual potentially subject to the Citizenship EO’s interpretation has not

 9 been born yet and will not be born for approximately four weeks, and Plaintiffs have not

10 carried their burden of showing that they will be required to lose any funds or incur any

11 expense during the relatively brief period before their preliminary injunction motion can be

12 decided on the basis of more detailed briefing and a more fulsome airing of the issues.

13          Moreover, even if their claimed pecuniary losses could establish a cognizable injury,

14 but see supra Sec. I, Plaintiffs have not demonstrated that any such losses would be irreparable.

15 See, e.g., hiQ Labs, Inc. v. LinkedIn Corp., 31 F. 4th 1180, 1188 (9th Cir. 2022) (“[M]onetary

16 injury is not normally considered irreparable.” (alteration in original) (citation omitted)). Even

17 granting, arguendo, Plaintiffs’ contention that economic harm that is “not recoverable” may

18 sometimes constitute irreparable harm, see TRO Mot. at 15, Plaintiffs here have failed to

19 establish that their primary claimed harm—“losses to reimbursements received through

20 [federal] programs,” id.—is truly unrecoverable. For example, they do not explain how they

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 1 would be unable to adjudicate their claims in separate proceedings when they seek

 2 reimbursement or whether there are any available administrative processes to recover federal

 3 monies to which Plaintiffs claim entitlement after the conclusion of this lawsuit. Cf. Kaiser v.

 4 Blue Cross of Cal., 347 F.3d 1107, 1115-16 (9th Cir. 2003) (finding that a party asserting a

 5 claim for Medicare reimbursement would not be irreparably harmed by exhausting claims

 6 through an administrative review process).

 7          These asserted harms are greatly outweighed by the harm to the government and public

 8 interest that would result from the extraordinary relief Plaintiffs request. See Nken v. Holder,

 9 556 U.S. 418, 435 (2009) (noting that the balancing of harms and public interest requirement

10 for emergency injunctive relief merge when “the Government is the opposing party”). As the

11 Supreme Court has recognized, Executive officials must have “broad discretion” to manage

12 the immigration system. Arizona v. United States, 567 U.S. 387, 395-96 (2012). It is the

13 United States, not these Plaintiff states, that has “broad, undoubted power over the subject of

14 immigration and the status of aliens,” id. at 394, and providing Plaintiffs with their requested

15 relief would mark a severe intrusion into this core executive authority, see INS v. Legalization

16 Assistance Project, 510 U.S. 1301, 1305-06 (1993) (O’Connor, J., in chambers) (warning

17 against “intrusion by a federal court into the workings of a coordinate branch of the

18 Government”); see also Doe #1 v. Trump, 957 F.3d 1050, 1084 (9th Cir. 2020) (Bress, J.,

19 dissenting) (an injunction that limits presidential authority is “itself an irreparable injury”)

20 (citing Maryland v. King, 567 U.S. 1301 (2012)).

21   Opposition to Motion for                                                      U.S. DEPARTMENT OF JUSTICE
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     a Temporary Restraining Order
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22   2:25-cv-00127-JCC - 15                                                           WASHINGTON, DC 20005
                                                                                           202-514-3374
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 1          At minimum, Plaintiffs’ apparent request for nationwide relief, see Pls.’ Proposed TRO

 2 at 4 (describing requested TRO without geographic limitation), is improper. Based on the

 3 well-established principle that “injunctive relief should be no more burdensome to the

 4 defendant than necessary to provide complete relief to the plaintiffs,” Madsen v. Women’s

 5 Health Ctr., Inc., 512 U.S. 753, 765 (1994) (citation omitted), the Ninth Circuit has repeatedly

 6 vacated or stayed nationwide injunctions. See, e.g., E. Bay Sanctuary Covenant v. Barr, 934

 7 F.3d 1026, 1029 (9th Cir. 2019); California v. Azar, 911 F.3d 558, 584 (9th Cir. 2018); City

 8 & County of San Francisco. v. Trump, 897 F.3d 1225, 1233-35 (9th Cir. 2018). Plaintiffs here

 9 have not established that nationwide relief here is “necessary to give [them] the relief to which

10 they are entitled.” California, 911 F.3d at 582 (citation omitted).

11 IV.      Relief Against the President is Improper.

12          Although Plaintiffs have named the President as a Defendant, see Compl. ¶ 18, Dkt.

13 No. 1, “courts do not have jurisdiction to enjoin [the President] . . . and have never submitted

14 the President to declaratory relief.” Newdow v. Roberts, 603 F.3d 1002, 1013 (D.C. Cir. 2010)

15 (citations omitted); see Franklin v. Massachusetts, 505 U.S. 788, 802–03 (1992) (“[I]n general

16 ‘this court has no jurisdiction of a bill to enjoin the President in the performance of his official

17 duties.’”) (citation omitted); id. at 827 (Scalia, J., concurring in part) (“[W]e cannot issue a

18 declaratory judgment against the President.”); Mississippi v. Johnson, 71 U.S. 475, 501 (1866).

19 Accordingly, the Court lacks jurisdiction to enter Plaintiffs’ requested relief against the

20 President and should dismiss him as a defendant in this case.

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 1                                           CONCLUSION

 2          For the foregoing reasons, the Court should deny Plaintiffs’ motion for a temporary

 3 restraining order.

 4          DATED this 22nd day of January, 2025.

 5                                           Respectfully submitted,

 6                                           BRETT A. SHUMATE
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18                                           I certify that this memorandum contains 4,174
                                             words, in compliance with the Local Civil Rules.
19

20

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